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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

                        Plaintiff,

        vs.                                                    Case No. 21-cr-444-JEB


BRIAN CHRISTOPHER MOCK,

                        Defendant.


                                     WAIVER OF JURY TRIAL

        I, Brian Mock, by understand that I am entitled to a jury trial on the charges in the

indictment pending in this case, and I have discussed this right fully with my attorney.

After receiving my attorney’s advice, by my signature below I knowingly and voluntarily

waive a jury trial in this case.

Date:    4/11/23
                                                      Brian Christopher Mock
                                                      Defendant




Date:    4/11/23                                      Peter R. Moyers
                                                      Peter R. Moyers
                                                      Counsel for Mr. Mock


        Pursuant to Rule 23(a)(2), the government herby consents to this jury trial waiver.



Date:
                                                      Name:
                                                      Title:
